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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
  WEST PALM BEACH DIVISION


  DONALD J. TRUMP,

                        Plaintiff,

               - against -                                  SPECIAL MASTER ORDER
                                                             No. 22-81294-CIV-CANNON
  UNITED STATES OF AMERICA,

                        Defendant.



  RAYMOND J. DEARIE, Special Master

         Counsel are directed to appear before the undersigned in Courtroom lOA-S of the

  Brooklyn Federal Courthouse on Tuesday, September 20, 2022 at 2:00 PM for a preliminary

  conference in the above-captioned matter.

         Counsel are invited to submit proposed agenda items for discussion by docketed letter to

  be filed before the close of business on Monday, September 19, 2022.




  Dated: Brooklyn, New York
         September 16, 2022                          RAY             DEARIE
                                                     United St       istricl Judge
